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                                                                     u.fJs'm~QRT
                                                                 EASTERN DISTRICT ARKANSAS

                IN THE UNITED STATES DISTRICT COURT JUL 2 2 2013
                   EASTERN DISTRICT OF ARKANSAS~~~RK
                                                                                   DEPC      RK


UNITED STATES OF AMERICA                                         PLAINTIFF


v.                          No. 4:11CR00290 JLH


CLAUDIA SUAREZ                                                DEFENDANT


                      FINAL ORDER OF FORFEITURE

      On February 27, 2013, the Court entered a Preliminary Order of

Forfeiture ordering Suarez to forfeit her interest in approximately

$41,895.00 in United States currency and a 2004 Land Rover Freelander,

VIN # SALNY22254A431127 (collectively, "forfeited property").              (Dkt.

463). The Order provided that it would become final as to Suarez at the

time of sentencing and would become a final order of forfeiture if no third

party filed a timely claim to the forfeited property. The Court has

sentenced Suarez, and no one has filed a claim to the forfeited property.

The preliminary order of forfeiture, therefore, ripens into a final order of

forfeiture.   The United States now has all right, title, and interest in the

forfeited property. Any prior claims in and against the forfeited property
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are extinguished and declared void. The property shall be turned over to

the United States Marshals Service and disposed of according to law.

     So Ordered.




                                        Honorable J. Leon Holmes
                                        United States District Judge




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